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     't.                    LINITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA.                               INDICTMENT

                       Plaintife                         18   IJ.S.c.   $ 233eB(a)(1)

           V.
                                                         ca /o.? e               P,qH   /r.qp1_

 MUHAMMAD MASOOD,

                       Defendant.

       THE UNITED STATES GRAND JURY CHARGES THAT:

       At all times material to this Indictment:



                                         COUNT      I"
                        (Atte-mpting to Provide Material Support to
                       a Designated Foreign Terrorist Organization)


       On or about March 19, 2020, within the State and District of Minnesota, and

elsewhere, the defendant,

                                MUHAMMAD MASOOD,

did knowingly attempt to provide material support and resources, as that term is defined in

Title 18, United States Code, Section 2339A(b)(1), including personnel (namely himself),

services, expert advice or assistance and property to a foreign terrorist organization, to wit:

the Islamic State of Iraq and al-Sham ("ISIS"), which at all relevant times has been

designated by the Secretary ofState as a foreign terrorist organization pursuant to Section

219 of the Immigration and Nationality Act , knowing that ISIS was a designated foreign




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terroriq[organization and knowing that ISIS had engaged in, and was engaging in, terrorist

activity and terrorism; all in violation of Title 18, United States Code, Section 2339B(a)(1).

                                 FORFEITURE ALLEGATIONS

       The allegations in Count 1 of this Indictment are incorporated by reference for the

purpose   of   alleging forfeitures pursuant       to Title 18, United       States Code, Section

981(a)(1)(G) and Title 28, United States Code, Section 2a6l@).

       The violation of Title 18, United States Code, Section 23398(a)(1) alleged in Count

I of this Indictment is an act of international terrorism,   as defined in   Title 18, United States

Code, Section 2331, against an international organization or foreign government.

       The defendant, Muhammad Masood was an individual engaged in planning and

perpetrating an act    of   international terrorism against an international organization or

foreign government.

       Upon conviction      of   the offense alleged in Count 1, the defendant shall forfeit to the

United States, pursuant to Title 18, United States Code, Section 981(a)(1XG) and Title 28,

United States Code, Section 2461(c), all of his assets, foreign and domestic. The assets to

be forfeited pursuant to this paragraph include, but are not limited to, 54,200 in U.S.

cunency sei2ed from the defendant on or about March 19,2020.




                                           A TRUE BILL
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LINITED STATES ATTORNEY                    FOREPERSON
